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     SO. CAL. EQUAL ACCESS GROUP
 1   Jason J. Kim (SBN 190246)
     Jason Yoon (SBN 306137)
 2   Kevin Hong (SBN 299040)
     101 S. Western Ave., Second Floor
 3   Los Angeles, CA 90004
     Telephone: (213) 205-6560
 4   cm@SoCalEAG.com
 5   Attorneys for Plaintiff
     KENNETH DAVIDSON
 6
 7
                               UNITED STATES DISTRICT COURT
 8
                              CENTRAL DISTRICT OF CALIFORNIA
 9
10                                               Case No.:
     KENNETH DAVIDSON,
11               Plaintiff,                      COMPLAINT FOR INJUNCTIVE
                                                 RELIEF AND DAMAGES FOR DENIAL
12         vs.                                   OF CIVIL RIGHTS OF A DISABLED
                                                 PERSON IN VIOLATIONS OF
13
                                                 1. AMERICANS WITH DISABILITIES
14                                               ACT, 42 U.S.C. §12131 et seq.;
     MGL FOODS LLC D/B/A FIVE STAR
15   CHINESE FOOD; RAUL CAUDILLO,                2. CALIFORNIA’S UNRUH CIVIL
     AS TRUSTEE OF THE TEMPLE                    RIGHTS ACT;
16
     BROADWAY TRUST; and DOES 1 to 10,           3. CALIFORNIA’S DISABLED
17                                               PERSONS ACT;
                 Defendants.
18                                               4. CALIFORNIA HEALTH & SAFETY
                                                 CODE;
19
                                                 5. NEGLIGENCE
20
21
22
23
24         Plaintiff KENNETH DAVIDSON (“Plaintiff”) complains of Defendants MGL
25   FOODS LLC D/B/A FIVE STAR CHINESE FOOD; RAUL CAUDILLO, AS
26   TRUSTEE OF THE TEMPLE BROADWAY TRUST; and DOES 1 to 10
27   (“Defendants”) and alleges as follows:
28




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 1                                              PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3   diagnosed with paraplegia secondary to MVA damaging T7 and is substantially limited in
 4   his ability to walk. Plaintiff requires the use of a wheelchair at all times when traveling in
 5   public.
 6            2.   Defendants are, or were at the time of the incident, the real property owners,
 7   business operators, lessors and/or lessees of the real property for a restaurant
 8   (“Business”) located at or about 2706 N. Broadway, Los Angeles, California.
 9            3.   The true names and capacities, whether individual, corporate, associate or
10   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
11   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
12   Court to amend this Complaint when the true names and capacities have been
13   ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
14   fictitiously named Defendants are responsible in some manner, and therefore, liable to
15   Plaintiff for the acts herein alleged.
16            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
17   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
18   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
19   the things alleged herein was acting with the knowledge and consent of the other
20   Defendants and within the course and scope of such agency or employment relationship.
21            5.   Whenever and wherever reference is made in this Complaint to any act or
22   failure to act by a defendant or Defendants, such allegations and references shall also be
23   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
24   and severally.
25                                 JURISDICTION AND VENUE
26            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
27   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
28   seq.).



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 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, Los Angeles County,
 8   California, and that all actions complained of herein take place in this district.
 9                                       FACTUAL ALLEGATIONS
10         10.    In or about July of 2024, Plaintiff went to the Business.
11         11.    The Business is a restaurant business establishment, open to the public, and
12   is a place of public accommodation that affects commerce through its operation.
13   Defendants provide parking spaces for customers.
14         12.    While attempting to enter the Business during each visit, Plaintiff personally
15   encountered a number of barriers that interfered with his ability to use and enjoy the
16   goods, services, privileges, and accommodations offered at the Business.
17         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18   included, but were not limited to, the following:
19                a.     Defendants failed to comply with the federal and state standards for
20                       the parking space designated for persons with disabilities. Defendants
21                       failed to provide any parking space designated for persons with
22                       disabilities.
23                b.     Defendants failed to comply with the federal and state standards for
24                       the parking space designated for persons with disabilities. Defendants
25                       failed to provide the parking space identification sign with the
26                       International Symbol of Accessibility.
27                c.     Defendants failed to comply with the federal and state standards for
28                       the parking space designated for persons with disabilities. Defendants



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 1                       failed to post required signage such as “Van Accessible,” “Minimum
 2                       Fine $250” and “Unauthorized Parking.”
 3                d.     Defendants failed to comply with the federal and state standards for
 4                       the parking space designated for persons with disabilities. Defendants
 5                       failed to provide proper van accessible space designated for the
 6                       persons with disabilities.
 7                e.     Defendants failed to comply with the federal and state standards for
 8                       the parking space designated for persons with disabilities. Defendants
 9                       failed to paint the ground as required.
10                f.     Defendants failed to comply with the federal and state standards for
11                       the parking space designated for persons with disabilities. Defendants
12                       failed to mark the space with the International Symbol of
13                       Accessibility.
14                g.     Defendants failed to maintain accessibility for persons with
15                       disabilities to comply with the federal and state standards. Defendants
16                       failed to provide at least one accessible entrance as required as the
17                       ramp that runs up to the entrance did not have level landing and had a
18                       slope that was too steep.
19         14.    These barriers and conditions denied Plaintiff full and equal access to the
20   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
21   patronize the Business; however, Plaintiff is deterred from visiting the Business because
22   his knowledge of these violations prevents him from returning until the barriers are
23   removed.
24         15.    Based on the violations, Plaintiff alleges, on information and belief, that
25   there are additional barriers to accessibility at the Business after further site inspection.
26   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
27   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
28




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 1         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 2   knew that particular barriers render the Business inaccessible, violate state and federal
 3   law, and interfere with access for the physically disabled.
 4         17.    At all relevant times, Defendants had and still have control and dominion
 5   over the conditions at this location and had and still have the financial resources to
 6   remove these barriers without much difficulty or expenses to make the Business
 7   accessible to the physically disabled in compliance with ADDAG and Title 24
 8   regulations. Defendants have not removed such barriers and have not modified the
 9   Business to conform to accessibility regulations.
10                                     FIRST CAUSE OF ACTION
11          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
12         18.    Plaintiff incorporates by reference each of the allegations in all prior
13   paragraphs in this complaint.
14         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
15   shall be discriminated against on the basis of disability in the full and equal enjoyment of
16   the goods, services, facilities, privileges, advantages, or accommodations of any place of
17   public accommodation by any person who owns, leases, or leases to, or operates a place
18   of public accommodation. See 42 U.S.C. § 12182(a).
19         20.    Discrimination, inter alia, includes:
20                a.     A failure to make reasonable modification in policies, practices, or
21                       procedures, when such modifications are necessary to afford such
22                       goods, services, facilities, privileges, advantages, or accommodations
23                       to individuals with disabilities, unless the entity can demonstrate that
24                       making such modifications would fundamentally alter the nature of
25                       such goods, services, facilities, privileges, advantages, or
26                       accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
27                b.     A failure to take such steps as may be necessary to ensure that no
28                       individual with a disability is excluded, denied services, segregated or



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 1                       otherwise treated differently than other individuals because of the
 2                       absence of auxiliary aids and services, unless the entity can
 3                       demonstrate that taking such steps would fundamentally alter the
 4                       nature of the good, service, facility, privilege, advantage, or
 5                       accommodation being offered or would result in an undue burden. 42
 6                       U.S.C. § 12182(b)(2)(A)(iii).
 7                c.     A failure to remove architectural barriers, and communication barriers
 8                       that are structural in nature, in existing facilities, and transportation
 9                       barriers in existing vehicles and rail passenger cars used by an
10                       establishment for transporting individuals (not including barriers that
11                       can only be removed through the retrofitting of vehicles or rail
12                       passenger cars by the installation of a hydraulic or other lift), where
13                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
14                d.     A failure to make alterations in such a manner that, to the maximum
15                       extent feasible, the altered portions of the facility are readily
16                       accessible to and usable by individuals with disabilities, including
17                       individuals who use wheelchairs or to ensure that, to the maximum
18                       extent feasible, the path of travel to the altered area and the
19                       bathrooms, telephones, and drinking fountains serving the altered
20                       area, are readily accessible to and usable by individuals with
21                       disabilities where such alterations to the path or travel or the
22                       bathrooms, telephones, and drinking fountains serving the altered area
23                       are not disproportionate to the overall alterations in terms of cost and
24                       scope. 42 U.S.C. § 12183(a)(2).
25         21.    Where parking spaces are provided, accessible parking spaces shall be
26   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
27   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
28   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA



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 1   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 2   be a van accessible parking space. 2010 ADA Standards § 208.2.4.
 3         22.    Under the ADA, the method and color of marking are to be addressed by
 4   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
 5   Building Code (“CBC”), the parking space identification signs shall include the
 6   International Symbol of Accessibility. Parking identification signs shall be reflectorized
 7   with a minimum area of 70 square inches. Additional language or an additional sign
 8   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
 9   parking space identification sign shall be permanently posted immediately adjacent and
10   visible from each parking space, shall be located with its centerline a maximum of 12
11   inches from the centerline of the parking space and may be posted on a wall at the
12   interior end of the parking space. See CBC § 11B-502.6, et seq.
13         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
14   each entrance to an off-street parking facility or immediately adjacent to on-site
15   accessible parking and visible from each parking space. The additional sign shall not be
16   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
17   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
18   designated accessible spaces not displaying distinguishing placards or special license
19   plates issued for persons with disabilities will be towed away at the owner’s expense…”
20   See CBC § 11B-502.8, et seq.
21         24.    Here, Defendants failed to provide any parking space designated for persons
22   with disabilities. Defendants also failed to provide the parking space identification sign
23   with the International Symbol of Accessibility. In addition, Defendants failed to provide
24   the signs stating, “Minimum Fine $250” and “Van Accessible.” Moreover, Defendants
25   failed to provide the additional sign with the specific language stating “Unauthorized
26   vehicles parked in designated accessible spaces not displaying distinguishing placards or
27   special license plates issued for persons with disabilities will be towed away at the
28   owner’s expense…”



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 1         25.    For the parking spaces, access aisles shall be marked with a blue painted
 2   borderline around their perimeter. The area within the blue borderlines shall be marked
 3   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
 4   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
 5   be painted on the surface within each access aisle in white letters a minimum of 12 inches
 6   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
 7   11B-502.3.3.
 8         26.    Here, Defendants failed to provide a proper access aisle as there were no
 9   “NO PARKING” marking and blue hatched lines painted on the parking surface.
10   Moreover, Defendants failed to provide the access aisle with the minimum width of 96
11   inches.
12         27.    The surface of each accessible car and van space shall have surface
13   identification complying with either of the following options: The outline of a profile
14   view of a wheelchair with occupant in white on a blue background a minimum 36” wide
15   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
16   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
17   length of the parking space and its lower side or corner aligned with the end of the
18   parking space length or by outlining or painting the parking space in blue and outlining
19   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
20   occupant. See CBC § 11B-502.6.4, et seq.
21         28.    Here, Defendants failed to paint the International Symbol of Accessibility on
22   the surface as required.
23         29.    At least one accessible route shall connect accessible building, facilities,
24   elements, and spaces that are on the same site. 1991 ADA Standards § 4.3.2. A public
25   accommodation shall maintain in operable working condition those features of facilities
26   and equipment that are required to be readily accessible to and usable by persons with
27   disabilities by the Act or this part. 28 C.F.R. 35.211(a).
28




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 1         30.      Here, Defendants failed to provide at least one accessible entrance to the
 2   Business as the ramp that runs up to the entrance did not have level landing and had a
 3   slope that was too steep.
 4         31.      A public accommodation shall maintain in operable working condition those
 5   features of facilities and equipment that are required to be readily accessible to and usable
 6   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 7         32.      By failing to maintain the facility to be readily accessible and usable by
 8   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
 9   regulations.
10         33.      The Business has denied and continues to deny full and equal access to
11   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
12   discriminated against due to the lack of accessible facilities, and therefore, seeks
13   injunctive relief to alter facilities to make such facilities readily accessible to and usable
14   by individuals with disabilities.
15                                 SECOND CAUSE OF ACTION
16                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
17         34.      Plaintiff incorporates by reference each of the allegations in all prior
18   paragraphs in this complaint.
19         35.      California Civil Code § 51 states, “All persons within the jurisdiction of this
20   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
21   national origin, disability, medical condition, genetic information, marital status, sexual
22   orientation, citizenship, primary language, or immigration status are entitled to the full
23   and equal accommodations, advantages, facilities, privileges, or services in all business
24   establishments of every kind whatsoever.”
25         36.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
26   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
27   for each and every offense for the actual damages, and any amount that may be
28   determined by a jury, or a court sitting without a jury, up to a maximum of three times the



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 1    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 2    attorney’s fees that may be determined by the court in addition thereto, suffered by any
 3    person denied the rights provided in Section 51, 51.5, or 51.6.
 4          37.    California Civil Code § 51(f) specifies, “a violation of the right of any
 5    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 6    shall also constitute a violation of this section.”
 7          38.    The actions and omissions of Defendants alleged herein constitute a denial
 8    of full and equal accommodation, advantages, facilities, privileges, or services by
 9    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
10    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
11    51 and 52.
12          39.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
13    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
14    damages as specified in California Civil Code §55.56(a)-(c).
15                                   THIRD CAUSE OF ACTION
16                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
17          40.    Plaintiff incorporates by reference each of the allegations in all prior
18    paragraphs in this complaint.
19          41.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
20    entitled to full and equal access, as other members of the general public, to
21    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
22    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
23    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
24    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
25    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
26    places of public accommodations, amusement, or resort, and other places in which the
27    general public is invited, subject only to the conditions and limitations established by
28    law, or state or federal regulation, and applicable alike to all persons.



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 1          42.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 2    corporation who denies or interferes with admittance to or enjoyment of public facilities
 3    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 4    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 5    the actual damages, and any amount as may be determined by a jury, or a court sitting
 6    without a jury, up to a maximum of three times the amount of actual damages but in no
 7    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 8    determined by the court in addition thereto, suffered by any person denied the rights
 9    provided in Section 54, 54.1, and 54.2.
10          43.    California Civil Code § 54(d) specifies, “a violation of the right of an
11    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
12    constitute a violation of this section, and nothing in this section shall be construed to limit
13    the access of any person in violation of that act.
14          44.    The actions and omissions of Defendants alleged herein constitute a denial
15    of full and equal accommodation, advantages, and facilities by physically disabled
16    persons within the meaning of California Civil Code § 54. Defendants have
17    discriminated against Plaintiff in violation of California Civil Code § 54.
18          45.    The violations of the California Disabled Persons Act caused Plaintiff to
19    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
20    statutory damages as specified in California Civil Code §55.56(a)-(c).
21                                 FOURTH CAUSE OF ACTION
22                 CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
23          46.    Plaintiff incorporates by reference each of the allegations in all prior
24    paragraphs in this complaint.
25          47.    Plaintiff and other similar physically disabled persons who require the use of
26    a wheelchair are unable to use public facilities on a “full and equal” basis unless each
27    such facility is in compliance with the provisions of California Health & Safety Code §
28




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 1    19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 2    provisions of California Health & Safety Code § 19955 et seq.
 3           48.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 4    that public accommodations or facilities constructed in this state with private funds
 5    adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 6    Title 1 of the Government Code. The code relating to such public accommodations also
 7    requires that “when sanitary facilities are made available for the public, clients, or
 8    employees in these stations, centers, or buildings, they shall be made available for
 9    persons with disabilities.
10           49.    Title II of the ADA holds as a “general rule” that no individual shall be
11    discriminated against on the basis of disability in the full and equal enjoyment of goods
12    (or use), services, facilities, privileges, and accommodations offered by any person who
13    owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
14    Further, each and every violation of the ADA also constitutes a separate and distinct
15    violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
16    award of damages and injunctive relief pursuant to California law, including but not
17    limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
18                                    FIFTH CAUSE OF ACTION
19                                          NEGLIGENCE
20           50.    Plaintiff incorporates by reference each of the allegations in all prior
21    paragraphs in this complaint.
22           51.    Defendants have a general duty and a duty under the ADA, Unruh Civil
23    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
24    to the Plaintiff.
25           52.    Defendants breached their duty of care by violating the provisions of ADA,
26    Unruh Civil Rights Act and California Disabled Persons Act.
27           53.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
28    has suffered damages.



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 1                                     PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 3    Defendants as follows:
 4          1.     For preliminary and permanent injunction directing Defendants to comply
 5    with the Americans with Disability Act and the Unruh Civil Rights Act;
 6          2.     Award of all appropriate damages, including but not limited to statutory
 7    damages, general damages and treble damages in amounts, according to proof;
 8          3.     Award of all reasonable restitution for Defendants’ unfair competition
 9    practices;
10          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
11    action;
12          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
13          6.     Such other and further relief as the Court deems just and proper.
14
15                               DEMAND FOR TRIAL BY JURY
16          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
17    demands a trial by jury on all issues so triable.
18
19    Dated: October 31, 2024                 SO. CAL. EQUAL ACCESS GROUP
20
21
22                                            By:    _/s/ Jason J. Kim___________
                                                     Jason J. Kim, Esq.
23                                                   Attorneys for Plaintiff
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